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cHARLEs wAGNER, U~E§§}SU§ `Y"FW?
Piaimirf,
vs. oooKET No.: 04-2696 Bv

MER|T DlSTRlBUT|ON,

AUST|N TRUCK & TRAlLER REPA|R CENTER,
JAMES AUSTIN, SR., in his individual capacity, and
JAMES AUST|N, JR., in his individual capacity,

Defendants.

 

ORDER GRANT|NG DEFENDANTS’ MOTION TO
AMEND SCHEDULING ORDER AND ANSWERS

 

it appearing to the Court that Defendants James Austin, Sr.’s, lVlerit Distribution,
|nc.‘s, James Austin, Jr.’s and Austin Truck & Traiier Repair Center, LLC’s |V|otion to
Amend Schedu|ing Order and Answers is well taken and should be granted in that good
cause is shown for the amendment ofthe Scheduling Order to allow Defendants to
move to amend their respective answers and that Defendants motions to amend their
respective answers should also be granted,

lt is therefore ordered that (1) the motion to amend the Schedu|ing Order to allow
Defendants to move to amend their respective answers to add an affirmative defense is
granted; (2) Defendants’ motion to amend their respective answers is allowed; (3)

Defendants’ motion to amend their respective answers to add an affirmative defense as

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Case 2:04-cv-02696-.]DB-dl<v Document 17 Filed 08/18/05 Page 2 of 3 Page|D 28

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This notice confirms a copy cf the document docketed as number 17 in
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Honcrable J. Breen
US DISTRICT COURT

